     Case 4:07-cv-05944-JST Document 2279-1 Filed 12/20/13 Page 1 of 6


     William A. Isaacson
 1   BOIES, SCHILLER & FLEXNER LLP
     5301 Wisconsin Ave. NW, Suite 800
 2   Washington, D.C. 20015
     Telephone: (202) 237-2727
 3   Facsimile: (202) 237-6131
     Email: wisaacson@bsfllp.com
 4
     Philip J. Iovieno
 5   Anne M. Nardacci
     BOIES, SCHILLER & FLEXNER LLP
 6   30 South Pearl Street, 11th Floor
     Albany, NY 12207
 7   Telephone: (518) 434-0600
     Facsimile: (518) 434-0665
 8   Email: piovieno@bsfllp.com
     Email: anardacci@bsfllp.com
 9
     Counsel for Plaintiffs Electrograph Systems, Inc., Electrograph Technologies, Corp., Office
10   Depot, Inc., Interbond Corporation of America, P.C. Richard & Son Long Island Corporation,
     MARTA Cooperative of America, Inc., ABC Appliance, Inc., and Schultze Agency Services LLC
11
                                   UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
13
      In re Cathode Ray Tube (CRT) Antitrust          Master File No. 3:07-md-05944-SC
14    Litigation
                                                      MDL No. 1917
15
     This Document Relates To:                        DECLARATION OF PHILIP J. IOVIENO
16                                                    IN SUPPORT OF CERTAIN DIRECT
      Electrograph Systems, Inc., et al. v.           ACTION PLAINTIFFS’
17    Technicolor SA, et al., No. 13-cv-05724-SC ;    ADMINISTRATIVE MOTION TO SEAL
                                                      PORTIONS OF AMENDED
18    Interbond Corporation of America v.             COMPLAINTS PURSUANT TO CIVIL
      Technicolor SA, et al., No. 13-cv-05727-SC ;    LOCAL RULES 7-11 AND 79-5(d)
19
      Office Depot, Inc. v. Technicolor SA, et al.,
20    No. 13-cv-05726-SC ;

21    P.C. Richard & Son Long Island Corporation,
      et al. v. Technicolor SA, et al., No. 13-cv-
22    05725-SC ;

23    Schultze Agency Services, LLC v.
      Technicolor SA, et al., No. 13-cv-05668-SC
24

25

26
27

28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
                                                                          Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’
     ADMINISTRATIVE MOTION TO SEAL
     Case 4:07-cv-05944-JST Document 2279-1 Filed 12/20/13 Page 2 of 6



 1   I, PHILIP J. IOVIENO, declare as follows:
 2           1.      I am a partner at the law firm of Boies, Schiller & Flexner LLP, counsel for
 3   several of the Direct Action Plaintiffs (“DAPs”) in this matter, including Electrograph Systems,
 4   Inc. and Electrograph Technologies Corp. (“Electrograph”), Interbond Corporation of America
 5   (“BrandsMart”), Office Depot, Inc. (“Office Depot”), P.C. Richard & Son Long Island
 6   Corporation (“P.C. Richard”), MARTA Cooperative of America, Inc. (“MARTA”), ABC
 7   Appliance, Inc. (“ABC Warehouse”), and Schultze Agency Services, LLC (“Tweeter”)
 8   (collectively, “Plaintiffs”), and I am licensed to practice law in the State of New York and
 9   admitted to practice pro hac vice before this Court. Except for those matters stated on
10   information and belief, which I believe to be true, I have personal knowledge of the facts recited
11   in this declaration and, if called upon to do so, I would competently testify under oath thereto.
12           2.      I submit this Declaration in support of Plaintiffs’ motion to file the highlighted
13   portions of the following documents under seal pursuant to Civil Local Rules 7-11 and 79-5(d):
14               Electrograph’s First Amended Complaint
15               BrandsMart’s First Amended Complaint;
16               Office Depot’s First Amended Complaint;
17               P.C. Richard’s, MARTA’s, and ABC Warehouse’s First Amended Complaint; and
18               Tweeter’s First Amended Complaint.
19           3.      Portions of Plaintiffs’ Amended Complaints in this case contain excerpts from
20   and/or statements derived from documents and testimony which have been designated
21   “confidential” or “highly confidential” pursuant to the Stipulated Protective Order governing this
22   litigation [Dkt. 306, June 18, 2008] (“Stipulated Protective Order”). The confidential/highly
23   confidential designations were made by certain defendants in this litigation. To qualify as
24   confidential or highly confidential under the Stipulated Protective Order, information must
25   contain trade secrets or other confidential research, development or commercial information or
26   private or competitively sensitive information. Stipulated Protective Order at ¶ 1.
27           4.      The Stipulated Protective Order requires that a party may not file any confidential
28   material in the public record. Stipulated Protective Order at ¶ 10. The Stipulated Protective
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
                                                                                 Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’                -1-
     ADMINISTRATIVE MOTION TO SEAL
     Case 4:07-cv-05944-JST Document 2279-1 Filed 12/20/13 Page 3 of 6



 1   Order further provides that any party seeking to file any confidential material under seal must
 2   comply with Civil Local Rule 79-5. Stipulated Protective Order at ¶¶ 1, 10.
 3           5.      The highlighted portions of Plaintiffs’ respective Amended Complaints contain
 4   such material, and, pursuant to Local Rule 79-5(e), Plaintiffs seek to submit this material under
 5   seal in good faith in order to comply with the Stipulated Protective Order and the applicable
 6   Local Rules.
 7           6.      Therefore, Plaintiff respectfully requests an order sealing portions of Plaintiffs’
 8   respective Amended Complaints.
 9           I declare under penalty of perjury that the foregoing is true and correct.
10   Executed on this 20th day of December, 2013 at Albany, New York.
11
                                                              /s/ Philip J. Iovieno
12

13                                                           Philip J. Iovieno

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
                                                                                      Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’                 -2-
     ADMINISTRATIVE MOTION TO SEAL
     Case 4:07-cv-05944-JST Document 2279-1 Filed 12/20/13 Page 4 of 6



 1
                                        CERTIFICATE OF SERVICE
 2

 3
             I HEREBY CERTIFY that I caused a true and correct copy of the documents listed
 4
     below to be served by ECF filing on December 20, 2013 to each of the persons as set forth on
 5
     the attached service list.
 6

 7          Certain Direct Action Plaintiffs’ Administrative Motion to Seal Portions of Amended

 8           Complaints Pursuant to Civil Local Rules 7-11 and 79-5(d)
 9          Declaration of Philip J. Iovieno in Support of Certain Direct Action Plaintiffs’
10
             Administrative Motion to Seal Portions of Amended Complaints Pursuant to Civil
11
             Local Rules 7-11 and 79-5(d)
12
            Proposed Order Granting Certain Direct Action Plaintiffs’ Administrative Motion to
13

14           Seal Portions of Amended Complaints Pursuant to Civil Local Rules 7-11 and 79-5(d)

15

16           Dated: December 20, 2013                       /s/   Adam Weber
17                                                          Adam Weber
18

19

20
21

22

23

24

25

26
27

28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
                                                                                 Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’                -3-
     ADMINISTRATIVE MOTION TO SEAL
     Case 4:07-cv-05944-JST Document 2279-1 Filed 12/20/13 Page 5 of 6


                                           SERVICE LIST
 1
     James L. McGinnis                           Lucius B. Lau
 2   Sheppard, Mullin, Richter & Hampton LLP     Charise Naifeh
     Four Embarcadero Center, 17th Floor         White & Case LLP
 3   San Francisco, CA 94111-4109                701 Thirteenth Street, N.W.
     Telephone: 415-434-9100                     Washington, D.C. 20005
 4   Facsimile: 415-434-3947                     Telephone: (202) 626-3600
 5   E-mail: jmcginnis@sheppardmullin.com        Facsimile: (202) 639-9355
                                                 Email: alau@whitecase.com
 6                                                       cnaifeh@whitecase.com
     Counsel for Defendants Samsung SDI Co.,
 7   Ltd.; Samsung SDI America, Inc.; SDI Mexico Counsel for Defendants Toshiba
     S.A. de C.V.; Samsung SDI Brasil Ltda.;
     Shenzhen Samsung SDI Co., Ltd.; Tianjin     Corporation; Toshiba America, Inc.;
 8                                               Toshiba America Consumer Products, LLC;
     Samsung SDI Co., Ltd.; and Samsung SDI
 9   (Malaysia) Sdn. Bhd.                        Toshiba America Electronic Components,
                                                 Inc.; Toshiba America Information Systems,
10                                               Inc.

11   Steven A. Reiss                                   Jeffrey L. Kessler
     David L. Yohai                                    A. Paul Victor
12   David Yolkut                                      Eva W. Cole
                                                       Molly M. Donovan
     Weil, Gotshal & Manges LLP                        Winston & Strawn LLP
13
     767 Fifth Avenue                                  200 Park Avenue
14   New York, NY 10153-0119                           New York, NY 10166
     Tel: 212-310-8000                                 Tel: 212-294-4692
15   Fax: 212-310-8007                                 Fax: 212-294-4700
     Email: steven.reiss@weil.com                      Email: jkessler@winston.com
16          david.yohai@weil.com                               pvictor@winston.com
                                                               ewcole@winston.com
17          david.yolkut@weil.com                              mmdonovan@winston.com

18   Bambo Obaro                                       Counsel for Panasonic Corporation;
     Weil, Gotshal & Manges LLP                        Panasonic Corporation of North America;
19   201 Redwood Shores Parkway                        and MT Picture Display Co., Ltd.
     Redwood Shores, CA 94065-1175
20   Tel: (650) 802-3000
21   Fax: (650) 802-3100
     Email: bambo.obaro@weil.com
22
     Counsel for Panasonic Corporation;
23   Panasonic Corporation of North America; and
     MT Picture Display Co., Ltd.
24

25

26
27

28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
                                                                             Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’                -4-
     ADMINISTRATIVE MOTION TO SEAL
     Case 4:07-cv-05944-JST Document 2279-1 Filed 12/20/13 Page 6 of 6



 1   Eliot A. Adelson                                    William Temko
     James Maxwell Cooper                                Jonathan Altman
 2   Kirkland & Ellis LLP                                Hojoon Hwang
     555 California Street, 27th Floor                   Laura Sullivan
 3   San Francisco, CA 94104                             Munger, Tolles & Olson LLP
 4   Tel: 415-439-1400                                   560 Mission Street
     Fax: 415-439-15001                                  San Francisco, CA 94105
 5   Email: eliot.adelson@kirkland.com                   Tel: 415-512-4009
            max.cooper@kirkland.com                      Fax: 415-512-4077
 6                                                       Email: william.temko@mto.com
     James H. Mutchnik                                          jonathan.altman@mto.com
 7   Kate Wheaton                                               hojoon.hwang@mto.com
 8   Kirkland & Ellis LLP                                       laura.sullivan@mto.com
     300 North LaSalle
 9   Chicago, IL 60654                                   Counsel for LG Electronics, Inc.; LG
     Tel: 312-862-2000                                   Electronics USA, Inc.
10   Fax: 312-862-2200
     Email: james.mutchnik@kirkland.com
11
           kate.wheaton@kirkland.com
12
     Counsel for Hitachi, Ltd.; Hitachi Displays,
13   Ltd.; Hitachi America, Ltd.; Hitachi Asia, Ltd.;
     and Hitachi Electronic Devices (USA), Inc.
14
     John M. Taladay                                     Joel S. Sanders
15   Erik Koons                                          Rachel S. Brass
     Charles Malaise                                     Gibson, Dunn & Crutcher LLP
16   Baker Botts L.L.P.
     1299 Pennsylvania Avenue, N.W.                      555 Madison Street, Suite 3000
17   Washington, DC 20004-2400                           San Francisco, CA 94105
     Tel: 202-639-7700                                   Tel: 415-393-8200
18   Fax: 202-639-7890                                   Fax: 415-393-8206
     Email: john.taladay@bakerbotts.com                  Email: jsanders@gibsondunn.com
19          erik.koons@bakerbotts.com                            rbrass@gibsondunn.com
            charles.malaise@bakerbotts.com
20
     Jon V. Swenson                                      Counsel for Chunghwa Picture Tubes, Ltd.
21   Baker Botts L.L.P.                                  and Chunghwa Picture Tubes (Malaysia)
     620 Hansen Way
22   Palo Alto, CA 94304
     Tel: 650-739-7500
23   Fax: 650-739-7699
     Email: jon.swenson@bakerbotts.com
24
     Counsel for Koninklijke Philips Electronics
25   N.V. and Philips Electronics North America
26   Corporation

27

28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
                                                                                Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’                  -5-
     ADMINISTRATIVE MOTION TO SEAL
